                                UNITED STATES DISTRICT COURT
                                EASTERN DISTRICT OF WISCONSIN

 National Labor Relations Board,
                                                Petitioner,            Case No. 22-MC-34
                      v.
                                                                       MINUTE SHEET
 Timothy Dillett and Carley Dillett,
                                                Respondents.



 Hon. Stephen C. Dries, presiding.                     Deputy Clerk: Tony Byal
 Type of Proceeding: INITIAL APPEARANCE ON WRIT OF BODY ATTACHMENT
 Date: September 12, 2023 at 3:00 PM                   Court Reporter: Zoom Audio
 Time Commenced: 3:00 PM                               Time Concluded: 3:07 PM

 Appearances:              Plaintiff:    Arish Ali, Kevin Flanagan, Richard Neuman, Helene Lerner
                           Defendant:    Ronnie Murray

 Comments:

Government:
  - Respondents need to satisfy requirements in judgment:
         o Need to post notice at facility that meets color, size, and signed requirements.
         o Need to send letter advising all references to unlawful termination have been expunged from
             record.
         o Need to mail copy of notice to employees of closed facility by end of next week.
  - Needs assurance that this will be done by end of week.
  - Is willing to discuss off record working out payment plan for costs and attorney fees.
  - Once all terms have been complied with, will file something with Seventh Circuit and this court
      advising of this.

Defense advises these terms are acceptable and respondents will get this done.

Court:
  - Stresses importance of complying with order.
  - Satisfied respondents are taking immediate steps to satisfy judgment.
  - Will enter certification order.
  - Orders USMS to release respondents immediately.




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